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                           UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF CALIFORNIA


APPLE INC., a California Corporation,

                      Plaintiff,

               v.
                                                  CASE NO. 12-CV-00630-LHK
SAMSUNG ELECTRONICS CO., LTD., a
Korean corporation; SAMSUNG
                                                  STIPULATION AND [PROPOSED] ORDER
ELECTRONICS AMERICA, INC., a New
                                                  SELECTING ADR PROCESS
york corporation; and SAMSUNG
TELECOMMUNICATIONS AMERICA,
LLC, a Delaware limited liability company,

                      Defendant(s).


       Counsel report that they have met and conferred regarding ADR and have reached the
following stipulation pursuant to Civil L.R. 16-8 and ADR L.R. 3-5:

The parties agree to participate in the following ADR process:

       Court Processes:
       ☐     Non-binding Arbitration (ADR L.R. 4)
       ☐     Early Neutral Evaluation (ENE) (ADR L.R. 5)
       ☐     Mediation (ADR L.R. 6)

(Note: Parties who believe that an early settlement conference with a Magistrate Judge is
appreciably more likely to meet their needs than any other form of ADR must participate in an
ADR phone conference and may not file this form. They must instead file a Notice of Need for
ADR Phone Conference. See Civil Local Rule 16-8 and ADR L.R. 3-5)

       Private Process:
             Private ADR (please identify process and provider) The parties will engage

in mediation, with the provider to be determined by agreement of the parties.

The parties agree to hold the ADR session by:
       ☐       the presumptive deadline (The deadline is 90 days from the date of the order
               referring the case to an ADR process unless otherwise ordered. )

              other requested deadline: 180 days from the date of the order referring the case to
               an ADR process.
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Dated: April 11, 2012                               /s/ H. Mark Lyon
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                                             Josh A. Krevitt (SBN 208552)
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Dated: April 11, 2012                                /s/ Patrick Shields
                                             Patrick Shields (SBN 204739)
                                             Charles K. Verhoeven (SBN 170151)
                                             Kevin P. B. Johnson (SBN 177129)
                                             Victoria F. Maroulis (SBN 202603)
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                                             LLP
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                        ATTESTATION OF CONCURRENCE IN FILING

      Pursuant to the United States District Court for the Northern District of California’s
General Order No. 45, Section X.B, I, H. Mark Lyon, attest that concurrence in the filing of this
document has been obtained from Patrick Shields.
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                                 [PROPOSED] ORDER

         ☐   The parties’ stipulation is adopted and IT IS SO ORDERED.
         ☐   The parties’ stipulation is modified as follows, and IT IS SO ORDERED.




Dated:                                          __________________________________
                                                Lucy H. Koh
                                                UNITED STATES DISTRICT JUDGE
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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that the foregoing document entitled STIPULATION
AND [PROPOSED] ORDER SELECTING ADR PROCESS was filed electronically in
compliance with Civil Local Rule 5.4, and will be served on all counsel of record who have
consented to electronic service in accordance with Civil Local Rule 5.4 via the Court’s ECF
System.

Dated: April 11, 2012                                     By:    /s/ H. Mark Lyon
                                                                 H. Mark Lyon
